            Case 2:16-cv-00030-SEH Document 14 Filed 07/08/16 Page 1 of 1
                                                                        FILED
                                                                          JUL 0 8 2016
                   IN THE UNITED STATES DISTRICT COURT
                                                                       Clerk, U.S. District Court
                                                                          District Of Montana
                      FOR THE DISTRICT OF MONTANA                                Helena


                               BUTTE DIVISION

GINA JAEGER, individually, AND
AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF HER SISTER                         No. CV 16-30-BU-SEH
CHARLENE HILL,

                          Plaintiff,                ORDER

vs.

GENESIS HEALTHCARE, INC.,
d/b/a THE BUTTE CENTER, JOHN
DOE LLC's 1-10; JOHN DOE, INC.,
1-10
     '
                           Defendants

      The Court will conduct a hearing on Plaintiffs Motion to Remand Case to

State Court 1 on July 22, 2016, at 1:30 p.m. at the Paul G. Hatfield Courthouse,

Helena, Montana.

      DATED this       ~    day of July, 20~16...
                                                ,:"

                                               .s   ~£#~~
                                                 ME. HADDON                 ~
                                               United States District Judge



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          Doc.3.

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